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            EXHIBIT 2
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                                          provide for the national defense. 50                    Executive Orders 12866, 13563, and                    Congressional Review Act, 5 U.S.C.
                                          U.S.C. 4558(c)(1)–(2). The DPA requires                 13771—Regulatory Review                               804(3)(B), (C). Therefore, the reporting
                                          that each proposed voluntary agreement                     This action has been drafted and                   requirement of 5 U.S.C. 801 does not
                                          or proposed plan of action be reviewed                  reviewed in accordance with section                   apply.
                                          by the Attorney General prior to                        1(b) of Executive Order 12866,                        List of Subjects in 28 CFR Part 0
                                          becoming effective. If, after consulting                ‘‘Regulatory Planning and Review,’’ and
                                          with the Chairman of the Federal Trade                  section 1(b) of Executive Order 13563,                  Authority delegations (Government
                                          Commission, the Attorney General finds                  ‘‘Improving Regulation and Regulatory                 agencies), Government employees,
                                          that the purposes of 50 U.S.C. 4558(c)                  Review.’’ This rule is limited to agency              National defense, Organization and
                                          ‘‘may not reasonably be achieved                        organization, management, and                         functions (Government agencies),
                                          through a voluntary agreement or plan                   personnel as described in section 3(d)(3)             Privacy, Reporting and recordkeeping
                                          of action having less anticompetitive                   of Executive Order 12866 and, therefore,              requirements, Whistleblowing.
                                          effects or without any voluntary                        is not a ‘‘regulation’’ or ‘‘rule’’ as                  Accordingly, by virtue of the
                                          agreement or plan of action,’’ the                      defined by the order. Accordingly, this               authority vested in me as Attorney
                                          agreement or plan may become                            action has not been reviewed by the                   General, including 5 U.S.C. 301 and 28
                                          effective. 50 U.S.C. 4558(f)(1)(B).                     Office of Management and Budget.                      U.S.C. 509 and 510, part 0 of title 28 of
                                             The DPA therefore requires action                       This rule is not subject to the                    the Code of Federal Regulations is
                                          from the Attorney General from the                      requirements of Executive Order 13771,                amended as follows:
                                          standpoint of the antitrust laws. As a                  ‘‘Reducing Regulation and Controlling
                                          result, the Assistant Attorney General in               Regulatory Costs,’’ because it is not a               PART 0—ORGANIZATION OF THE
                                          charge of the Antitrust Division is                     significant regulatory action under                   DEPARTMENT OF JUSTICE
                                          already assigned the preparation of the                 Executive Order 12866, and because it
                                                                                                                                                        ■ 1. The authority citation for part 0
                                          Attorney General’s approval or                          is ‘‘related to agency organization,
                                                                                                                                                        continues to read as follows:
                                          disapproval whenever such action is                     management, or personnel’’ and thus
                                          required by the DPA from the                            not a ‘‘regulation’’ or ‘‘rule’’ under                  Authority: 5 U.S.C. 301; 28 U.S.C. 509,
                                                                                                  section 4(b) of Executive Order 13771.                510, 515–519.
                                          standpoint of the antitrust laws. 28 CFR
                                          0.40(e). Conditions that may pose a                                                                           ■ 2. Section 0.40(l) is added to read as
                                                                                                  Executive Order 13132—Federalism
                                          direct threat to the national defense or                                                                      follows:
                                          its preparedness programs are                              This rule will not have substantial
                                                                                                  direct effects on the States, on the                  § 0.40   General functions.
                                          inherently dynamic, and it is of utmost
                                          importance to be able to respond rapidly                relationship between the National                     *     *     *    *     *
                                          to such conditions. Therefore, the                      Government and the States, or on                        (l) As the delegate of the Attorney
                                          Attorney General has made the                           distribution of power and                             General, performance of all functions
                                          determination to promulgate a                           responsibilities among the various                    that the Attorney General is required or
                                          regulation unambiguously delegating to                  levels of government. Therefore, in                   authorized to perform by section 708 of
                                          the Assistant Attorney General in charge                accordance with Executive Order 13132,                the Defense Production Act (50 U.S.C.
                                          of the Antitrust Division his authority to              it is determined that this rule does not              4558).
                                          perform all functions that the Attorney                 have sufficient federalism implications                 Dated: November 20, 2020.
                                          General is required or authorized to                    to warrant the preparation of a                       William P. Barr,
                                          perform by section 708 of the DPA (50                   federalism summary impact statement.
                                                                                                                                                        Attorney General.
                                          U.S.C. 4558).                                           Executive Order 12988—Civil Justice                   [FR Doc. 2020–26222 Filed 11–25–20; 8:45 am]
                                          Administrative Procedure Act—5                          Reform                                                BILLING CODE 4410–14–P
                                          U.S.C. 553                                                This rule was drafted in accordance
                                                                                                  with the applicable standards set forth
                                            This rule is a rule of agency                         in sections 3(a) and 3(b)(2) of Executive             DEPARTMENT OF JUSTICE
                                          organization and relates to a matter                    Order 12988.
                                          relating to agency management and is                                                                          Office of the Attorney General
                                          therefore exempt from the requirements                  Unfunded Mandates Reform Act of
                                          of prior notice and comment and a 30-                   1995                                                  28 CFR Part 26
                                          day delay in the effective date. See 5                    This rule will not result in the                    [Docket Number OAG 171; AG Order No.
                                          U.S.C. 553(a)(2), 553(b)(A), 553(d).                    expenditure by State, local, and Tribal               4911–2020]
                                          Regulatory Flexibility Act                              governments, in the aggregate, or by the
                                                                                                                                                        RIN 1105–AB63
                                                                                                  private sector, of $100,000,000 or more
                                            The Attorney General, in accordance                   in any one year (adjusted annually for                Manner of Federal Executions
                                          with the Regulatory Flexibility Act (5                  inflation), and it will not significantly or
                                          U.S.C. 605(b)), has reviewed this                       uniquely affect small governments.                    AGENCY: Office of the Attorney General,
                                          regulation and by approving it certifies                Therefore, no actions were deemed                     Department of Justice.
                                          that this regulation will not have a                    necessary under the provisions of the                 ACTION: Final rule.
                                          significant economic impact on a                        Unfunded Mandates Reform Act of
                                          substantial number of small entities                    1995.                                                 SUMMARY: The Department of Justice
                                          because it pertains to personnel and                                                                          (‘‘Department’’ or ‘‘DOJ’’) is finalizing
                                          administrative matters affecting the                    Congressional Review Act                              amendments to regulations to authorize
                                                                                                                                                        implementation of a sentence in a
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                                          Department. Further, a Regulatory                          This action pertains to agency
                                          Flexibility Analysis is not required to be              management, personnel, and                            Federal capital case in any manner
                                          prepared for this final rule because the                organization and does not substantially               consistent with Federal law and to make
                                          Department was not required to publish                  affect the rights or obligations of non-              other amendments.
                                          a general notice of proposed rulemaking                 agency parties and, accordingly, is not               DATES: This final rule becomes effective
                                          for this matter. 5 U.S.C. 604(a).                       a ‘‘rule’’ as that term is used by the                December 24, 2020.


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                                          FOR FURTHER INFORMATION CONTACT:                        firing squad if other methods are held                26 intended to provide the Federal
                                          Laurence E. Rothenberg, Deputy                          unconstitutional or otherwise                         Government with greater flexibility to
                                          Assistant Attorney General, Office of                   unavailable); Okla. Stat. tit. 22, sec.               conduct executions in any manner
                                          Legal Policy, U.S. Department of Justice,               1014 (same); Ark. Code Ann. 5–4–617(l)                authorized by section 3596(a) and to
                                          (202) 514–3116.                                         (by electrocution if execution by lethal              implement the statutory authorization
                                          SUPPLEMENTARY INFORMATION:                              injection is invalidated); Fla. Stat.                 in section 3597(a) that provides that
                                                                                                  922.105 (by lethal injection but                      State and local facilities and personnel
                                          I. Background and Purpose                               electrocution may be elected); see also               may be used in carrying out Federal
                                             The Federal Death Penalty Act                        Bucklew v. Precythe, 139 S. Ct. 1112,                 executions. The proposed rule also
                                          provides that a capital sentence in a                   1142 (2019) (Breyer, J., dissenting)                  proposed various amendments to other
                                          Federal case is to be implemented ‘‘in                  (noting States permitting use of nitrogen             provisions of the regulations, as
                                          the manner prescribed by the law of the                 hypoxia); Glossip v. Gross, 135 S. Ct.                described in detail below, that would
                                          State in which the sentence is                          2726, 2796 (2015) (Sotomayor, J.,                     eliminate redundancies, such as
                                          imposed.’’ 18 U.S.C. 3596(a). However,                  dissenting) (noting State using firing                eliminating § 26.2 regarding filing of a
                                          if the ‘‘law of the State in which the                  squad). One State has recently used                   judgment and order with the sentencing
                                          sentence is imposed’’ ‘‘does not provide                electrocution. See Media Advisory,                    court, and that would update the
                                          for implementation of a sentence of                     Tenn. Dep’t of Corr. (Dec. 5, 2019, 7:27              regulations for current practice by the
                                          death,’’ then the statute directs the court             p.m.), https://www.tn.gov/correction/                 Department and its components, such as
                                          to designate another State whose law                    news/2019/12/5/media-advisory.html.                   granting authority for decision-making
                                          does ‘‘provide for the implementation of                Some States also provide by law that a                about certain matters to the Director of
                                          a sentence of death, and the sentence                   prisoner may choose the manner of                     BOP or his designee, rather than to the
                                          shall be implemented in the latter State                execution from among several options,                 Warden of the institution where the
                                          in the manner prescribed by such law.’’                 in at least some circumstances. See Ala.              execution is to be conducted.
                                          Id.                                                     Code 15–18–82.1(b); Ariz. Rev. Stat.                     By the end of the 30-day comment
                                             The current execution regulations,                   Ann. 13–757(B); Cal. Penal Code 3604;                 period on September 4, 2020, the
                                          promulgated in a final rule published on                Fla. Stat. 922.105; Ky. Rev. Stat. Ann.               Department received 23 comments that
                                          January 19, 1993, Implementation of                     431.220(1)(b); S.C. Code Ann. 24–3–                   were responsive to the proposed rule.
                                          Death Sentences in Federal Cases, 58 FR                 530(A); Tenn. Code Ann. 40–23–114(b);                 Following are the Department’s
                                          4898 (Jan. 19, 1993), and codified at 28                Va. Code Ann. 53.1–234. States may                    responses to those comments.
                                          CFR part 26, authorize execution only                   authorize execution by other means in                 III. Summary of Changes in the Final
                                          through lethal injection, except to the                 the future, and it is possible that a State           Rule
                                          extent a court orders otherwise.                        in the future will provide that a manner
                                          Specifically, they direct the attorney for              other than lethal injection is the only                  After evaluating the 23 public
                                          the government to ‘‘file with the                       authorized means of execution. Section                comments, the Department has
                                          sentencing court a proposed Judgment                    3596(a) would then require execution in               determined that no major changes to the
                                          and Order’’ stating that ‘‘[t]he sentence               that manner for a Federal offender                    proposed rule are necessary. As
                                          shall be executed by intravenous                        sentenced in the State.                               described in the next section, the
                                          injection of a lethal substance or                         The current regulations also provide               majority of public comments reflected
                                          substances in a quantity sufficient to                  that a Federal execution shall occur                  general opposition to the death penalty.
                                          cause death.’’ 28 CFR 26.2(a). The                      ‘‘[a]t a federal penal or correctional                Although the Department is mindful of
                                          regulations further state that, except to               institution designated by the Director of             those views, no changes are necessary in
                                          the extent a court orders otherwise, a                  the Federal Bureau of Prisons.’’ 28 CFR               response to those comments, as the
                                          sentence of death shall be executed on                  26.3(a)(2). Section 3597(a), however,                 death penalty is expressly authorized by
                                          a date and at a time and at a ‘‘federal                 provides that State and local facilities              Federal statute and has been repeatedly
                                          penal or correctional institution                       and personnel may be used in carrying                 upheld by the Supreme Court as
                                          designated by the Director of the Federal               out Federal executions. As discussed                  constitutional. See Bucklew v. Precythe,
                                          Bureau of Prisons . . . [b]y intravenous                above, future situations may arise in                 139 S. Ct. 1112, 1122 (2019) (‘‘The
                                          injection of a lethal substance or                      which it is necessary to carry out an                 Constitution allows capital
                                          substances in a quantity sufficient to                  execution by some means other than                    punishment.’’). Other comments
                                          cause death.’’ Id. § 26.3(a).                           lethal injection. However, the Federal                opposed various provisions in the rule
                                             Execution by lethal injection is                     Bureau of Prisons (‘‘BOP’’) facility for              as unnecessary, unauthorized by the
                                          authorized in all States that have capital              carrying out executions, located at the               statute, or contrary to the statute. The
                                          punishment. See In re Fed. Bureau of                    Terre Haute correctional complex in                   Department disagrees with those
                                          Prisons’ Execution Protocol Cases, 955                  Indiana, is equipped for carrying out                 assertions for the reasons stated below
                                          F.3d 106, 114 (D.C. Cir. 2020) (Katsas,                 executions only by lethal injection. If               and declines to change the proposed
                                          J., concurring) (‘‘Every state that                     cases arise in which the Department is                rule in response to them. Other
                                          authorizes capital punishment uses                      required to execute a Federal inmate                  comments suggested amendments to the
                                          lethal injection ‘as the exclusive or                   according to the law of a State that uses             existing regulations that were not
                                          primary means of implementing the                       a method other than lethal injection, the             proposed by the Department and that
                                          death penalty.’ ’’ (quoting Baze v. Rees,               most expedient means of carrying out                  the Department has declined to adopt.
                                          553 U.S. 35, 42 (2008) (plurality                       the execution may be to arrange for                   Other comments raised issues that are
                                          opinion))). However, some States also                   State assistance.                                     more properly addressed in the BOP
                                          authorize execution by other means in                                                                         execution protocol (including its
                                                                                                  II. Proposed Rule
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                                          certain circumstances. See, e.g., Ala.                                                                        manual and addendum).
                                          Code 15–18–82.1(a) (by lethal injection                    The Department published a notice of                  In response to three comments,
                                          but electrocution or nitrogen hypoxia                   proposed rulemaking (‘‘NPRM’’) on                     Department has amended the proposed
                                          may be elected); Miss. Code Ann. 99–                    August 5, 2020, Manner of Federal                     rule as follows: First, the final rule
                                          19–51(1)–(4) (by lethal injection but by                Executions, 86 FR 47324 (Aug. 5, 2020),               corrects a scrivener’s error in the NPRM
                                          nitrogen hypoxia, electrocution, or                     proposing amendments to 28 CFR part                   that deleted ‘‘Except to the extent a


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                                          court orders otherwise,’’ from the first                procedures for lethal injection that the              and adds a new sentence at the end of
                                          line of § 26.4; second, it adds, in                     commenter argued should be delineated                 the paragraph to read as follows: ‘‘If
                                          § 26.4(a), a notice to the prisoner of the              in the regulations, as well as how a                  applicable law provides that the
                                          method of execution to be employed or,                  prisoner’s medical conditions would be                prisoner may choose among multiple
                                          where applicable, of the prisoner’s                     accommodated. A second commenter                      manners of execution, the Director or
                                          option to choose from among multiple                    argued that the language of the preamble              his designee shall notify the prisoner of
                                          methods; and third, it clarifies in                     of the proposed rule inappropriately                  that option.’’
                                          § 26.4(b) that the designee of the BOP                  referred to authorizing any method                      The second commenter
                                          Director can allow other persons to visit               under Federal law while the statute                   misunderstands the proposed rule. The
                                          the inmate in the seven days prior to the               refers to requiring use of any method                 commenter is correct that the Federal
                                          date of execution.                                      authorized by State law.                              Death Penalty Act refers to the use of
                                             Although no commenter objected to a                     The Department declines to make                    the method of execution ‘‘prescribed by
                                          proposed amendment in § 26.3(a)(3)                      changes to the proposed rule in                       the law of the State in which the
                                          changing the officials responsible for                  response to these comments.                           sentence was imposed.’’ However, the
                                          selection of personnel assisting the                       The issues raised by the first                     preamble of the proposed rule properly
                                          execution from the United States                        commenter included detailed matters                   referred to ‘‘federal’’ law, because it is
                                          Marshal and the Warden of the                           about lethal injection, such as the nature            the Federal Death Penalty Act that
                                          institution to solely the Director of BOP               of drugs used, placement and other                    provides the authority for the rule. In
                                          or his designee, the Department has                     procedures for use of the IV for                      any event, the text of the proposed rule
                                          determined upon further reflection that                 provision of the drugs, and use of lethal             uses exactly the language of the statute,
                                          that revision would not be efficient for                injection in inmates with certain                     namely, ‘‘by any other manner
                                          administrative and management                           medical conditions. These are matters                 prescribed by the law of the State in
                                          purposes. Instead, the final rule amends                that the current regulations do not                   which the sentence was imposed,’’ as
                                          the provision to provide that personnel                 address and that the proposed rule did                the commenter apparently was
                                          will be selected by the Director of the                 not propose to address. To the extent                 concerned that it should do.
                                          United States Marshals Service and the                  that the comment is arguing that issues
                                                                                                  it raises should nevertheless be                      B. Use of State Facilities
                                          Director of BOP or their designees.
                                                                                                  addressed in the regulations, the                        The NPRM proposed to permit use of
                                          IV. Responses to Public Comments on                     Department considers these matters                    State facilities, in accordance with the
                                          the Proposed Rule                                       properly addressed in the BOP                         authorization in section 3597(a), by
                                            As noted above, a large majority of                   execution protocol, which includes                    striking ‘‘federal’’ before ‘‘penal or
                                          comments did not address specific                       more granular details regarding                       correctional institution’’ in § 26.3(a)(2),
                                          proposed changes to the regulations.                    execution procedures.                                 and replacing ‘‘[b]y’’ with ‘‘[u]nder the
                                          Rather, they expressed opposition to the                   The Department notes that this                     supervision of’’ a United States Marshal
                                          use of capital punishment in general.                   comment included a recommendation                     in § 26.3(a)(3). This change also is
                                          Furthermore, many of those comments                     for consideration of alternative methods              addressed in the regulatory certification
                                          misunderstood the nature of the                         of execution, such as the firing squad,               with regard to Executive Order 13132 on
                                          proposed amendments as designed to                      for prisoners with medical conditions                 federalism, which stated that there were
                                          expedite executions or expand the use                   for whom the commenter contended                      no federalism implications under that
                                          of capital punishment. As described                     lethal injection would be inappropriate.              order.
                                          above, the proposed amendments are                      The Department takes this comment as                     Several commenters objected to these
                                          not designed to achieve those objectives.               consistent with the overall purpose of                changes. One commenter argued that it
                                            One comment by counsel for Federal                    the proposed rule to provide for                      was ‘‘implausible’’ that the change
                                          death row inmates, as well as several                   methods of execution besides lethal                   would not have an impact on States and
                                          other comments, had specific comments                   injection, where they are prescribed by               that the federalism implications were
                                          on the edits proposed in the NPRM.                      the relevant State law, although the                  ‘‘self-evident.’’ In addition, this
                                          Following are responses to those                        specific application of any method to a               commenter alleged that the provision
                                          comments.                                               particular prisoner is beyond the scope               could violate the constitutional ‘‘anti-
                                                                                                  of this rulemaking.                                   commandeering’’ principle. A second
                                          A. Manner of Execution                                     This commenter also recommended                    commenter opposed the provision on
                                            The proposed rule proposed to amend                   that the notice of the date of execution              unclear grounds but possibly because
                                          part 26 to provide, in 28 CFR 26.3(a)(4),               provided to a prisoner also should state              the commenter believed that State
                                          that Federal executions are to be carried               the method of execution to be used. The               officials would not be able to implement
                                          out by lethal injection ‘‘or by any other               Department agrees with this                           a Federal sentence without facing
                                          manner prescribed by the law of the                     recommendation. As the final rule                     criminal liability for doing so. A third
                                          State in which the sentence was                         provides for the possibility that methods             commenter stated that rather than using
                                          imposed or which has been designated                    other than lethal injection may be                    State facilities, the Department should
                                          by a court in accordance with 18 U.S.C.                 employed by the Department, it is                     expand the capabilities of the Terre
                                          3596(a).’’ The amendment would ensure                   reasonable that a prisoner be provided                Haute facility or other facilities to be
                                          that the Department would be                            with notice of the method to implement                able to implement executions through
                                          authorized to use the widest range of                   that prisoner’s sentence. In addition, as             means other than lethal injection.
                                          manners of execution permitted by law.                  noted above, some State laws provide                     The Department declines to make
                                          Two commenters opposed this                             the prisoner the option to choose the                 changes to the proposed rule in
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                                          amendment.                                              method of execution.                                  response to the comments. Each of the
                                            One commenter argued that the rule                       For these reasons, in § 26.4(a), the               commenters misunderstands the need
                                          should specify the guidelines that the                  final rule inserts ‘‘the manner of                    for this change and the nature of the
                                          Department would follow to ensure the                   execution and’’ before ‘‘date designated              change. First, as noted, the change does
                                          humane implementation of a sentence                     for execution,’’ deletes ‘‘date of’’ after            nothing more than implement an
                                          and gave several examples of                            ‘‘previously scheduled and noticed,’’                 existing statutory provision, which


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                                          expressly provides the Federal                          Attorney General to ignore or change                  Congress’s specific designation of
                                          Government with the option to contract                  regulations at will with no further                   certain officials—particularly a United
                                          with willing States to use their facilities             process, and ad hoc, even in specific                 States Marshal—to carry out certain
                                          and personnel in Federal executions.                    cases for impermissible reasons, at the               duties, and violate the ‘‘statutory
                                          The policy implications or trade-offs,                  last moment, and without notice. The                  scheme’’ for executions in which the
                                          such as whether to expand Federal                       commenter claimed that this would be                  U.S. Marshals Service is given
                                          capabilities or potential liability for                 a conflict of interest as well, because the           responsibility and accountability for
                                          State workers, are not at issue in this                 Attorney General could change the                     implementation.
                                          rulemaking, which simply ensures that                   regulations that apply to the individual                 The Department declines to make
                                          the Department is able to use an option                 his agency is responsible for prosecuting             changes to the proposed rule in
                                          expressly provided by statute.                          and executing. The comment identified                 response to the comments. As the
                                             Second, as to the federalism                         these alleged concerns but did not                    NPRM explained, the proposed new
                                          implications, the Department reiterates                 suggest specific changes to the proposed              paragraph is in line with the Attorney
                                          that the rule will not have substantial                 rule.                                                 General’s well-established authority to
                                          direct effects on the States, on the                      The Department declines to make                     manage the Department. The
                                          relationship between the National                       changes to the proposed rule in                       commenters’ arguments to the contrary
                                          Government and the States, or on the                    response to the comment. This                         are unavailing. First, one commenter’s
                                          distribution of power and                               provision was added to account for the                claim that the Attorney General could
                                          responsibilities among the various                      statutory requirement that the Attorney               change regulations without notice is not
                                          levels of government as laid out in                     General implement an execution ‘‘in the
                                                                                                                                                        relevant, as this provision itself is notice
                                          Executive Order 13132. The commenter                    manner prescribed by the law of the
                                                                                                                                                        to the public that the Attorney General
                                          misunderstands the purpose of                           State in which the sentence is
                                                                                                                                                        may re-designate responsibilities to
                                          Executive Order 13132. It is intended to                imposed.’’ 18 U.S.C. 3596(a). The new
                                                                                                                                                        other officials. Second, two commenters
                                          limit Federal power to make national                    paragraph is therefore intended only to
                                                                                                                                                        argued that the Attorney General lacks
                                          standards in policy and legislation that                ensure that the Attorney General can
                                                                                                                                                        authority to reassign responsibilities
                                          would preempt States from developing                    comply with State statutes that
                                                                                                                                                        that Congress has vested in other
                                          their own, and to prevent imposition of                 contradict the regulations. It is possible
                                                                                                                                                        components by default. These
                                          ‘‘unfunded mandates’’ on States by the                  that at some point in the future a State
                                                                                                                                                        comments ignore the plain language of
                                          Federal Government. The amendments                      statute that applies to the execution of
                                                                                                  a Federal inmate may differ, even in a                the relevant sections of title 28 of the
                                          at issue here do not implicate these                                                                          U.S. Code: ‘‘All functions of other
                                          concerns, nor do they implicate the anti-               minor respect, from the regulations. The
                                                                                                  specifics of such a difference are not                officers of the Department of Justice and
                                          commandeering principle. The Federal                                                                          all functions of agencies and employees
                                          Government would be implementing its                    currently foreseeable, however. Hence,
                                                                                                  in order to allow the execution to                    of the Department of Justice are vested
                                          own policy by an agreement with a                                                                             in the Attorney General,’’ 28 U.S.C. 509;
                                          willing State government and would                      proceed without undue delay, this
                                                                                                  provision authorizes the Attorney                     ‘‘The Attorney General may from time to
                                          cover any costs to the State, as expressly                                                                    time make such provisions as he
                                          provided by section 3597(a). It is                      General to account for that difference.
                                                                                                  The language of new § 26.1(b) itself                  considers appropriate authorizing the
                                          notable that Federal executions                                                                               performance by any other officer,
                                          routinely occurred in State facilities in               clearly indicates that this is the
                                                                                                  intended purpose. It states, emphasis                 employee, or agency of the Department
                                          the 20th century, and that practice does                                                                      of Justice of any function of the
                                          not appear to have raised any federalism                added, ‘‘Where applicable law conflicts
                                                                                                  with any provision of this part, the                  Attorney General,’’ 28 U.S.C. 510. One
                                          concerns. See Execution Protocol Cases,                                                                       commenter also argued that the
                                          955 F.3d at 137 (Rao, J., concurring). It               Attorney General may vary from that
                                                                                                  provision to the extent necessary to                  provision would violate the ‘‘statutory
                                          also is significant that no State                                                                             scheme’’ for executions because the
                                          government—that is, none of the                         comply with the applicable law.’’ In
                                                                                                  fact, rather than providing the Attorney              Director of the U.S. Marshals Service is
                                          affected entities—commented in                                                                                accountable to Congress, as a Senate-
                                                                                                  General with discretion to act arbitrarily
                                          opposition to the proposed regulation.                                                                        confirmed officer. However, the U.S.
                                             For these reasons, the final rule makes              or ad hoc, this provision limits the
                                                                                                  Attorney General’s ability to vary from               Marshals Service is ‘‘a bureau within
                                          no changes to the proposed rule’s                                                                             the Department of Justice under the
                                          amendments to implement the statutory                   the regulation only in circumstances
                                                                                                  where controlling law requires him to                 authority and direction of the Attorney
                                          authority to use and pay for State                                                                            General,’’ 28 U.S.C. 561(a), and, as the
                                          facilities.                                             do so and only to the extent necessary.
                                                                                                    For these reasons, the final rule                   provisions of title 28 noted above
                                          C. Other Amendments                                     adopts new § 26.1(b) as proposed.                     establish, the ultimate accountability for
                                                                                                    The NPRM also proposed to add a                     all actions of the Department and its
                                          1. § 26.1                                               new provision, § 26.1(c), that would                  officials lies with the Attorney General,
                                             The NPRM proposed to add a new                       reiterate the Attorney General’s                      who is also a Senate-confirmed officer.
                                          provision, § 26.1(b), that would                        authority to manage the Department’s                  Likewise, the same principle applies to
                                          authorize the Attorney General to vary                  execution process, by stating that any                the commenter’s arguments that the U.S.
                                          from the regulation to the extent                       task or duty assigned to any officer or               Marshals Service is ‘‘uniquely suited’’ to
                                          necessary to comply with applicable                     employee of the Department of Justice                 carrying out the law in localities across
                                          law. One commenter commented that                       under part 26 may be delegated by the                 the country. As a matter of law, the
                                          the NPRM did not provide sufficient                     Attorney General to any other officer or              Attorney General, through all the
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                                          explanation of why the addition of this                 employee of the Department of Justice.                components of the Department of
                                          paragraph was necessary or identify the                 Two commenters opposed this                           Justice, enforces Federal law in all
                                          legal basis for that paragraph. In                      provision, stating that this change                   districts of the Nation. This is true
                                          addition, the commenter claimed that                    would allow the Attorney General to                   notwithstanding the 26-year-old internal
                                          the new paragraph would provide a                       change regulations without notice to the              DOJ memo cited by the commenter,
                                          catch-all provision allowing the                        public, rewrite the statute in violation of           Memorandum to U.S. Marshals Service


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                                          Director Gonzalez et al. from Deborah                   and at a place designated by BOP. The                 to use the precise ‘‘magic words’’
                                          Westbrook, General Counsel, The                         rule’s requirement that the Judgment                  contained in § 26.2 to effectuate the
                                          ‘‘Violent Crime Control and Law                         and Order specify the manner of                       delegation of its authority to BOP. Lee,
                                          Enforcement Act of 1994’’ (House                        execution as lethal injection is                      2020 WL 3921174, at *4 (rejecting claim
                                          Report 103–771) (Sept. 9, 1994), which                  inconsistent with section 3596(a), which              that the only way a court may properly
                                          makes the factual determination that the                authorizes executions ‘‘in the manner                 delegate its authority to implement a
                                          U.S. Marshals Service would be                          prescribed by the law of the State in                 death sentence is by adopting the
                                          responsible for implementation of death                 which the sentence is imposed,’’ which                content of § 26.2 in an order).
                                          sentences. Finally, the commenter is                    may not necessarily involve lethal                      The commenter’s concern that
                                          incorrect that implementing executions                  injection. As to the requirement for the              removal of § 26.2 would deprive courts
                                          ‘‘falls squarely within the ‘primary role               Judgment and Order to specify that                    of oversight relating to execution dates
                                          and mission’ ’’ of the U.S. Marshals                    executions occur on a date and at a                   also is misplaced. Section 26.3(a)’s
                                          Service of enforcing court orders—and                   place designated by BOP, that provision               prefatory language belies this concern,
                                          no other component’s role and mission.                  is also reflected in § 26.3(a)(1) and (2)             authorizing BOP’s Director to set an
                                          As explained in more detail later in this               (‘‘Except to the extent a court orders                execution date and time ‘‘[e]xcept to the
                                          preamble, although all death sentences                  otherwise, a sentence of death shall be               extent a court orders otherwise.’’ And
                                          are embodied in court orders, the details               executed: (1) On a date and at a time                 nothing in the proposed amendment of
                                          of implementing a death sentence by the                 designated by the Director of the Federal             the regulations, including the deletion
                                          Department of Justice do not depend on                  Bureau of Prisons . . . ; (2) At a federal            of § 26.2, alters the courts’ power to set
                                          a court order alone.                                    penal or correctional institution                     aside or postpone execution dates
                                                                                                  designated by the Director of the Federal             pursuant to their authority to issue stays
                                          2. § 26.2                                                                                                     and injunctions. See LeCroy, 975 F.3d at
                                                                                                  Bureau of Prisons . . . .’’). The
                                             The NPRM proposed removing the                       provisions of 18 U.S.C. 3596 and 28 CFR               1196 (‘‘the regulations . . . sensibly
                                          content of § 26.2, concerning a proposed                26.3 thus render § 26.2 unnecessary,                  recognize—as they must—a court’s
                                          Judgment and Order, and reserving it for                meriting its removal.                                 authority to stay or enjoin a scheduled
                                          future use. One commenter commented                                                                           execution’’).
                                          that the NPRM did not provide                              In any event, the commenter’s                        For these reasons, the final rule
                                          sufficient explanation for why the                      premise that BOP’s authority to set an                removes § 26.2 as proposed.
                                          deletion of this section was necessary.                 execution date derives solely from the
                                                                                                  courts is incorrect as a matter of law.               3. § 26.3
                                          In addition, the commenter claimed that
                                          deleting this section—and in particular,                See, e.g., LeCroy v. United States, 975                  Section 26.3(a)(1) addresses the date
                                          the requirement that the court’s                        F.3d 1192, 1195–96 (11th Cir. 2020)                   and time of an execution and specifies
                                          Judgment and Order include a statement                  (recognizing that, while the courts may               that if the date designated for execution
                                          that the sentence be executed on a date                 historically have had some                            passes by reason of a stay of execution,
                                          and at a place designated by the Director               ‘‘concurrent’’ responsibility in setting              then a new date shall be designated
                                          of the BOP—runs afoul of a claimed                      execution dates, ‘‘[t]he Code of Federal              promptly by the Director of the Federal
                                          legal principle that BOP’s authority to                 Regulations vests the Bureau Director                 Bureau of Prisons when the stay is
                                          set an execution date is derived solely                 with broad authority and discretion to                lifted. The NPRM did not propose any
                                          from the authority of the courts. The                   set execution dates as an initial                     changes to this paragraph. Nonetheless,
                                          commenter further asserted that vesting                 matter’’); United States v. Lee, No. 4:97–            several commenters sua sponte
                                          authority for setting an execution date                 cr–00243–LPR–2, 2020 WL 3921174, at                   suggested alterations to this provision,
                                          in BOP would deprive courts of                          *3 (E.D. Ark. July 10, 2020) (expressing              contending that: The BOP Director lacks
                                          necessary oversight over when and                       skepticism ‘‘that the founding                        authority to designate the date and time
                                          whether death-sentenced inmates had                     generation . . . understood the                       of an execution; the Department should
                                          exhausted their judicial remedies.                      implementation of a sentence to be of an              further define the phrase ‘‘when the stay
                                             The Department declines to make                      entirely judicial nature’’ and noting that            is lifted’’ and the term ‘‘promptly’’; and
                                          changes to the proposed rule in                         ‘‘until 1830 courts were all over the                 the regulations should set out
                                          response to the comment. Section 26.2                   place as to whether they would set                    procedures to follow in the event of a
                                          was promulgated in 1993, requiring                      execution dates themselves or leave it to             stay.
                                          prosecutors to submit a proposed                        the Executive Branch’’). The Executive                   The Department declines to make
                                          Judgment and Order to the court in                      Branch’s authority to set an execution                changes to the proposed rule in
                                          cases in which the defendant was                        date, and the Attorney General’s                      response to the comments. First, the
                                          sentenced to death. The content of the                  codification of that authority in the 1993            suggested changes are beyond the scope
                                          Judgment and Order would include four                   regulations, also are consistent with the             of the current rulemaking, in which the
                                          basic points: (1) The sentence was to be                Executive Branch’s constitutional and                 Department did not propose any
                                          executed by a United States Marshal, (2)                statutory duties in general. Cf. United               changes to this portion of the
                                          by injection of a lethal substance, (3) on              States v. Tipton, 90 F.3d 861, 902–03                 regulations. In any event, as explained
                                          a date and at a place designated by BOP,                (4th Cir. 1996) (concluding that ‘‘absent             above in this preamble, the Attorney
                                          and (4) the prisoner under sentence of                  directly preempting congressional                     General may delegate authority in
                                          death was to be committed to the                        action, the Attorney General had                      execution-related matters to the BOP
                                          custody of the Attorney General or his                  constitutional and statutory authority to             Director. Moreover, as reflected in the
                                          designee for detention pending                          provide by regulation the means for                   current regulations, detailed procedures
                                          execution of the sentence.                              executing death sentences imposed                     are better addressed in the Federal
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                                          Subsequently, Congress enacted the                      under [the Anti-Drug Abuse Act of                     execution protocol. The Department
                                          Federal Death Penalty Act, 18 U.S.C.                    1988],’’ which preceded the Federal                   also notes that the existing rule (along
                                          3591 et seq. Within that Act, section                   Death Penalty Act). Moreover, even if                 with § 26.4(a)) appropriately takes into
                                          3596(a) essentially codified two of these               BOP’s authority to set an execution date              account the possibility that an inmate’s
                                          points, leaving out that the execution                  were derived from the authority of the                or court’s last-minute actions may delay
                                          occur by lethal injection and on a date                 courts, nothing would compel the court                an execution past midnight, causing the


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                                          execution to be performed the day after                   For these reasons, the final rule                   comments, the proposed rule is the
                                          it had been formally scheduled. The                     revises § 26.3(a)(3) to provide that the              same as the existing rule. Moreover, as
                                          Department may consider the                             sentence of death be executed under the               discussed in connection with
                                          suggestions and proposals made in the                   supervision of a United States Marshal                § 26.3(a)(1), the prompt rescheduling of
                                          comments if it undertakes further                       designated by the Director of the United              an execution date may be necessary and
                                          changes to the regulations or execution                 States Marshals Service, assisted by                  appropriate where last-minute litigation
                                          protocol.                                               additional qualified personnel who are                requires a delay of execution past
                                             For these reasons, the final rule makes              selected by the Director of the United                midnight of an originally scheduled
                                          no changes to § 26.3(a)(1).                             States Marshals Service and the Director              date. Further, the Department observes
                                             In § 26.3(a)(3), the NPRM proposed                   of the Federal Bureau of Prisons, or their            that prisoners are free to prepare
                                          clarifying that ‘‘qualified’’ personnel                 designees, and acting at the direction of             clemency petitions at any time and, per
                                          must carry out an execution, regardless                 the Marshal.                                          28 CFR 1.10(b), to file such petitions as
                                          of manner. Commenters suggested that                                                                          soon as proceedings on their direct
                                                                                                  4. § 26.4
                                          ‘‘qualified’’ must be defined with                                                                            appeal and first petition under 28 U.S.C.
                                          objective criteria.                                        In the first line of § 26.4, the proposed          2255 have terminated.
                                                                                                  rule eliminated the phrase ‘‘Except to                   Furthermore, commenters’ suggestion
                                             The Department declines to make
                                                                                                  the extent a court orders otherwise’’.                that 28 CFR 1.10(b) provides prisoners
                                          changes to the proposed rule in
                                                                                                  One commenter claimed that this                       with a right to 30 days to file a clemency
                                          response to the comment. The
                                                                                                  change was unexplained, contrary to the               petition is incorrect; that provision
                                          regulatory requirement that the
                                                                                                  original justification for the existing               creates a limitation, not an entitlement,
                                          Department employ ‘‘qualified
                                                                                                  regulation, and would ‘‘eliminate                     providing that such petitions should be
                                          personnel’’ in an execution is not new;
                                                                                                  judicial oversight over critical aspects of           filed ‘‘no later than 30 days after the
                                          the current language of § 26.3(a)(4)
                                                                                                  the execution process.’’                              petitioner has received notification from
                                          requires that lethal injections ‘‘be                       The Department notes that this                     the Bureau of Prisons of the scheduled
                                          administered by qualified personnel.’’                  change was a scrivener’s error that                   date of execution.’’ (Emphasis added.)
                                          With the expansion of permissible                       inadvertently appeared in the final text              Nor does the existing regulation conflict
                                          Federal execution methods, moving this                  of the NPRM during the process of                     with 28 CFR 1.10(c), which permits
                                          phrase from paragraph (a)(4) to                         formatting the operative text of the                  prisoners’ counsel to request to make an
                                          paragraph (a)(3) merely ensures that                    proposed rule.                                        oral presentation to the Office of the
                                          whatever method of execution is                            For this reason, the final rule re-                Pardon Attorney within the Department.
                                          employed in light of the relevant State’s               inserts the phrase ‘‘Except to the extent             Clemency counsel may still request and
                                          laws, the personnel implementing that                   a court orders otherwise,’’ in the first              make such presentations well before a
                                          method will be suitably qualified. To                   line of § 26.4.                                       scheduled execution, even if the
                                          the extent that the Department considers                   Section 26.4(a) provides that a                    prisoner receives the minimum 20-day
                                          it appropriate to set out further details               prisoner will receive notice of the date              notice. Indeed, a clemency proceeding
                                          regarding qualifications, it may do so in               designated for execution ‘‘at least 20                may be conducted within 20 days where
                                          the Federal execution protocol, as it has               days in advance, except when the date                 an impending execution date requires
                                          done in the addendum to the protocol                    follows a postponement of fewer than                  such dispatch.
                                          regarding lethal injection. The                         20 days of a previously scheduled and                    For these reasons, the final rule
                                          Department notes that the relevant                      noticed date of execution, in which                   adopts new § 26.4(a) as proposed. The
                                          qualifications may change depending on                  case’’ the prisoner shall be notified ‘‘as            Department may consider the
                                          the execution method called for by State                soon as possible.’’ The only change                   suggestions and proposals made in the
                                          law, and that to the extent that States                 proposed to this section in the NPRM                  comments if it undertakes further
                                          change their methods, see supra                         was to place responsibility for such                  changes to the regulations or to the
                                          (discussing expansion of Federal                        notification with the ‘‘Director of the               execution protocol.
                                          execution methods), entrenching static                  Federal Bureau of Prisons or his                         Section 26.4(b) governs prisoner
                                          qualification criteria in regulations                   designee’’ instead of with the                        access to other persons in the week
                                          would be antithetical to the                            ‘‘Warden.’’                                           before the designated execution date,
                                          rulemaking’s goal of ensuring that                         Commenters provided a number of                    limiting such access to spiritual
                                          Federal executions may be responsibly                   suggestions unrelated to the proposed                 advisers, defense attorneys, family
                                          carried out in accordance with any                      change, including arguments that this                 members, institution officials, and—
                                          State’s prescribed method of execution.                 regulation should: Require notice to                  upon the approval of the BOP Director—
                                             The amendments to § 26.3(a)(3) in the                counsel; define what constitutes                      ‘‘such other proper persons as the
                                          NPRM also had the effect of revising the                sufficient notice; limit who can be a                 prisoner may request.’’ The NPRM
                                          official responsible for selection of                   ‘‘designee’’ for purposes of notice; and              proposed to clarify that the BOP
                                          personnel assisting the execution from                  limit the Government’s ability to                     Director may approve prisoner requests
                                          the Marshal and the Warden of the                       continue a noticed execution date.                    for types of visitors not listed in the
                                          institution to solely the Director of BOP               Commenters also criticized the existing               regulation, eliminating a reference to the
                                          or his designee. No commenter                           regime as limiting prisoners’ ability to              ‘‘Warden.’’ It did not propose any other
                                          commented on this provision. The                        apply for clemency.                                   changes to this provision. Commenters
                                          Department has determined that that                        The Department declines to make                    nevertheless suggested a wide range of
                                          revision would not be efficient for                     changes to the proposed rule in                       changes nonresponsive to the proposal,
                                          administrative and management                           response to the comments. These                       suggesting that the language limiting
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                                          purposes, however. Instead, the final                   suggestions are beyond the scope of the               prisoner visits should be deleted, and
                                          rule amends the provision to provide                    current rulemaking, which sought only                 that the regulation should be revised to
                                          that personnel will be selected by the                  to change the official charged with                   permit attendance by anyone the inmate
                                          Director of the U.S. Marshals Service                   providing notice of an execution date,                wants, subject to disapproval by
                                          and the Director of BOP or their                        not to alter the contours of that notice.             officials only for good cause.
                                          designees.                                              In all respects relevant to these                     Commenters also suggested replacing


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                                          ‘‘defense attorneys’’ with ‘‘members of                 throughout the regulation was                         ultimate authority over all relevant
                                          defense team,’’ adding ‘‘all’’ before                   elsewhere replaced with the BOP                       officials and functions of the
                                          ‘‘members of his family,’’ and                          Director ‘‘or his designee.’’ For the sake            Department.
                                          eliminating ‘‘only’’ before the list of                 of consistency with the rest of the                      With respect to § 26.4(c)(3), no
                                          permitted visitors in the week before the               amendments in the proposed rule, the                  changes were proposed to this
                                          execution. Some commenters even                         Department agrees with the commenter                  provision, and the commenters’
                                          suggested removing all ‘‘restrict[ions on]              that § 26.4(b) should also refer to the               proposed alterations are outside the
                                          the type of visitors’’ other than that they             Director’s designee.                                  scope of this rulemaking. In any event,
                                          ‘‘pass the security clearances’’ at the                    For these reasons, the final rule                  the commenters erroneously suggest
                                          facility.                                               revises § 26.4(b) as proposed, but also               that the existing rule can be read to
                                             The Department declines to make                      adds ‘‘or his designee’’ after ‘‘Director of          provide certain potential witnesses an
                                          changes to the proposed rule in                         the Federal Bureau of Prisons.’’                      entitlement to attend an execution. The
                                          response to the comments. The NPRM                         Section 26.4(c) governs execution                  clear language of the regulation specifies
                                          did not propose substantive changes to                  attendance, requiring certain official                that ‘‘[n]ot more than the following
                                          the categories of persons to whom a                     personnel to attend and imposing limits               numbers of’’ certain persons designated
                                          prisoner may have access in the week                    on the numbers and types of other                     by the prisoner ‘‘shall be present’’ at an
                                          before his execution date, and the                      persons whom the prisoner and officials               execution. (Emphasis added.) As the
                                          comments are thus beyond the scope of                   may designate to attend. The NPRM                     Seventh Circuit concluded in
                                          the present rulemaking. The Department                  proposed eliminating references to the                interpreting analogous language in
                                          may consider the suggestions and                        ‘‘Warden,’’ thus eliminating the                      § 26.4(c)(4), these terms establish ‘‘a
                                          proposals made in the comments if it                    requirement that the Warden attend                    limitation on, not an entitlement to,
                                          undertakes further changes to the                       executions, while maintaining the                     witness attendance.’’ Peterson v. Barr,
                                          regulations or to the execution protocol.               requirement that the Marshal attend.                  965 F.3d 549, 553 (7th Cir. 2020) (also
                                             Even were these comments responsive                  The only other proposed change was to                 rejecting the argument that § 26.4(c)(4)
                                          to proposed changes to the rules, the                   vest authority for selecting necessary                required the attendance of witnesses
                                          Department notes that to the extent that                personnel in the Marshal and the BOP                  designated by Department officials
                                          commenters desire a regulation creating                 Director or his designee, instead of in               ‘‘before the execution may proceed’’).
                                          a prisoner entitlement to unlimited                     the Marshal and the Warden. With                      To the extent commenters suggest that
                                          types or numbers of visitors, their                     respect to § 26.4(c)(1), commenters                   the regulation should instead provide an
                                          proposals are inconsistent with the need                expressed concern that such authority                 entitlement for specific persons to
                                          to limit visiting when necessary to                     could not be vested in the BOP Director               attend an execution, or even to permit
                                          ensure the security and good order of                   or his designee and sought clarification              potential witnesses to delay or halt an
                                          the institution and consideration of                    whether the regulation was intended to                execution if unable or unwilling to
                                          institution resources. The existing rule                require the agreement of both the                     attend, the Department disagrees. Such
                                          strikes an appropriate balance between                  Marshal and the BOP Director or his                   a regime could permit a prisoner’s
                                          providing a prisoner with access to                     designee regarding personnel                          lawyers or family members to
                                          spiritual, legal, and familial support,                 attendance. With respect to § 26.4(c)(3),             unilaterally halt an execution they
                                          while maintaining security and                          although the commenters recognized                    oppose by the simple expedient of
                                          conserving resources. The existing rule                 that its text in the proposed rule                    refusing to attend. The existing rule
                                          also already provides a mechanism to                    remained materially unchanged from                    provides a reasonable avenue for
                                          permit additional visitors identified by                the existing regulation, they nonetheless             Department officials to permit a
                                          commenters (such as friends or                          proposed changes to it. Specifically,                 prisoner’s spiritual advisor, defense
                                          paralegals working with a legal defense                 commenters requested that the                         attorneys, and friends or relatives to
                                          team), where BOP agrees that a                          regulation be revised to provide                      attend without effecting this
                                          prisoner’s particular circumstances so                  prisoners with an entitlement to have                 unprecedented and potentially
                                          warrant and the additions can be made                   persons they specify attend their                     disruptive change in execution
                                          without disrupting that balance or                      executions, suggesting that the inability             procedures.
                                          disturbing prison officials’ discretion to              of a prisoner-designated witness to                      For these reasons, the final rule
                                          determine which visitors may enter                      attend should halt or delay an                        adopts the amendments to § 26.4(c) as
                                          these high-security facilities, as                      execution, potentially through litigation.            proposed, and declines to make any
                                          provided at 28 CFR part 540, subpart D.                    The Department declines to make                    changes to § 26.4(c)(3) as suggested by
                                          The Department further notes that                       changes to the proposed rule in                       the commenters.
                                          additional details, such as those relating              response to the comments.                                Current § 26.4(f) provides that ‘‘[n]o
                                          to the frequency or method of visitation,                  With respect to § 26.4(c)(1), as                   photographic or other visual or audio
                                          are better addressed in the more finely                 explained above, the BOP Director, or                 recording of the execution shall be
                                          reticulated provisions of BOP policy.                   his designee, may properly be vested                  permitted.’’ One commenter objected to
                                             Another comment noted that                           with authority in execution-related                   this paragraph, stating that defense
                                          proposed § 26.4(b), by deleting                         matters. With respect to the                          counsel should be permitted to video-
                                          ‘‘Warden,’’ would authorize only the                    commenter’s concerns about potential                  and audio-record executions, and
                                          BOP Director to allow other persons to                  disagreements between Department                      alternatively recommends that the
                                          visit the inmate, which may be                          officials regarding the personnel                     Department also record executions. The
                                          impractical. The commenter’s                            necessary to attend the execution, those              commenter states that a recording is
                                          observation is correct as to the proposed               concerns are unfounded as a practical                 necessary to ensure a record for review
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                                          paragraph and the practical impact of                   matter, as each official selects personnel            by courts and by the legislature to
                                          deleting ‘‘Warden’’; the Department did                 from his own agency to attend and no                  adjudge whether the execution method
                                          not add ‘‘or his designee’’ after the                   disagreements about personnel have                    is humane. The commenter states that
                                          reference to the BOP Director in                        ever arisen between the Marshal and the               witness observation through the
                                          § 26.4(b), when it deleted ‘‘Warden,’’                  Warden under the existing regulation. In              window of rooms adjacent to the
                                          whereas the reference to the ‘‘Warden’’                 any event, the Attorney General has                   execution room is insufficient.


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                                            The Department declines to make                       hours leading to the execution. The                   B. Executive Orders 12866, 13563, and
                                          changes to the proposed rule in                         Department declines to incorporate the                13771—Regulatory Planning and
                                          response to the comment. The NPRM                       details of the manner and means of                    Review
                                          did not propose changes to § 26.4(f) and                those communications into the text of                    This final rule has been drafted and
                                          the Department will not change this                     the rule.                                             reviewed in accordance with Executive
                                          provision in response to the comment.                                                                         Order 12866, ‘‘Regulatory Planning and
                                          The Department values preserving the                    7. References to the Director of BOP or
                                                                                                  His Designee                                          Review,’’ section 1(b), ‘‘The Principles
                                          order, privacy, and solemnity of the                                                                          of Regulation,’’ and Executive Order
                                          proceeding more than the speculative                                                                          13563, ‘‘Improving Regulation and
                                          value of audio or video recording of the                   One commenter objected to all those
                                                                                                  provisions (§§ 26.3(a)(3), 26.4(a),                   Regulatory Review.’’ The Office of
                                          execution. Recording also risks                                                                               Information and Regulatory Affairs has
                                          revealing the identities of personnel                   26.4(c)(1), 26.4(c)(4), 26.4(e), and
                                                                                                  26.4(g)) in which the proposed rule                   determined that the rule is a ‘‘significant
                                          performing tasks implementing an
                                                                                                  proposed to add ‘‘or his designee’’ after             regulatory action’’ under Executive
                                          execution; these persons’ identities are
                                                                                                  ‘‘Director of the Federal Bureau of                   Order 12866, section 3(f).
                                          not publicly available in order to protect
                                                                                                  Prisons’’ or replace ‘‘Warden’’ with                     In the proposed rule, the Department
                                          them from harassment and threats.
                                                                                                  ‘‘Director of the Federal Bureau of                   stated that if finalized, the rule could
                                          Further, multiple witnesses as identified
                                                                                                  Prisons or his designee.’’ The                        entail financial costs if, at some point in
                                          in § 26.4(c) may attend the execution to
                                                                                                  commenter stated that the rule fails to               the future, a prisoner is to be executed
                                          observe. The presence of these
                                                                                                  define who can be a designee and fails                by a manner other than lethal injection.
                                          witnesses accommodates the public
                                                                                                                                                        The Department would then either have
                                          interest in reports and eyewitness                      to set any limits on which designees
                                                                                                                                                        to provide its own system for an
                                          accounts of the execution.                              may make the decision or take the
                                            Accordingly, the Department adopts                                                                          execution by a manner other than lethal
                                                                                                  action described in the rule. Thus, the
                                          the rule as proposed without revising                                                                         injection or pay for the use of State or
                                                                                                  comment recommended that the rule                     local facilities and personnel to perform
                                          § 26.4(f).                                              include a definition of ‘‘designee’’ to               the execution. In such a circumstance,
                                          5. § 26.5                                               ensure the person entrusted with the                  the cost would likely be the
                                                                                                  task is competent to do so and is                     development of Federal capabilities to
                                             The proposed rule proposed to extend                 specifically authorized.
                                          to non-DOJ employees (including                                                                               implement such a sentence or payment
                                          contractors) existing protections that                     The Director of the Federal Bureau of              for the use of State or local facilities and
                                          currently apply to DOJ employees,                       Prisons is authorized to redelegate                   personnel. No further information either
                                          allowing them not to be in attendance                   duties vested in him. See 28 CFR 0.97.                in support of this analysis or in
                                          at or to participate in any execution if                The authority to redelegate                           contradiction of it was received during
                                          such attendance or participation is                     responsibilities regarding management                 the public comment period. The
                                          contrary to the moral or religious                      of Federal correctional institutions and              Department has therefore not changed
                                          convictions of the DOJ employee. The                    the custody and care of persons held                  its analysis of the impact of the rule.
                                          new language was almost the exact                       therein allows appropriate flexibility in                This final rule is not a regulatory
                                          language on this matter used in 18                      managing correctional institutions,                   action for purposes of Executive Order
                                          U.S.C. 3597(b).                                         including activities related to                       13771.
                                             No comments were received on this                    executions. Adopting the                              C. Executive Order 13132—Federalism
                                          proposed amendment. Therefore, the                      recommendation would unnecessarily
                                          final rule adopts the amendments to                                                                              This final rule will not have
                                                                                                  curtail flexibility. Further, to the extent
                                          § 26.5 as proposed.                                                                                           substantial direct effects on the States,
                                                                                                  the Director redelegates the duties
                                                                                                                                                        on the relationship between the
                                          6. Access to Mobile Phones                              vested in him by this rule, such                      National Government and the States, or
                                                                                                  delegations would be better placed in                 on the distribution of power and
                                             One commenter commented that
                                                                                                  the BOP execution protocol, which sets                responsibilities among the various
                                          attorneys for the prisoner present at the
                                                                                                  forth internal policy and procedures for              levels of government. Section 3597 of
                                          execution should be allowed to have
                                          mobile phones or immediate access to a                  carrying out the execution of a person                title 18 provides that the Federal
                                          dedicated phone line to communicate                     convicted of a capital offense. Therefore,            Government ‘‘may use appropriate State
                                          outside the facility. The commenter                     this subject is not suited to further                 or local facilities for the purpose [of
                                          further stated that prisoners should be                 elaboration in the rule and there is no               implementing a sentence of death], may
                                          able to communicate with counsel by                     need to modify the rule as the                        use the services of an appropriate State
                                          phone when in the execution facility.                   commenter recommends.                                 or local official or of a person such an
                                             The Department declines to make                      V. Regulatory Review                                  official employs for the purpose, and
                                          changes to the proposed rule in                                                                               shall pay the costs thereof.’’ The
                                          response to the comment. Modifying the                  A. Regulatory Flexibility Act                         statutory authorization and the rule to
                                          rule to detail the manner and means of                                                                        implement it are directed at the Federal
                                          accommodating phone communication                         The Attorney General, in accordance                 Government. Neither the statute nor the
                                          between the prisoner and his attorney,                  with the Regulatory Flexibility Act (5                final rule imposes any requirements for
                                          and attorney access to phone                            U.S.C. 605(b)), has reviewed this final               action or costs on States. Any actions
                                          communications when inside the                          rule and by approving it certifies that               using the services of State or local
                                          execution facility, is unnecessary. The                 this regulation will not have a                       governments would be done by
                                                                                                  significant economic impact on a
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                                          current rule and the NPRM do not                                                                              agreement, and with the Federal
                                          address phone calls and visits with                     substantial number of small entities                  Government paying the costs thereof. As
                                          attorneys. The BOP execution protocol                   because it concerns the manner of                     noted above, some commenters opposed
                                          addresses this subject and permits calls                implementing Federal death sentences                  the rule on federalism grounds, but
                                          and visits between the prisoner and his                 on individuals convicted of capital                   those commenters misunderstood the
                                          attorney including during the final 24                  offenses.                                             requirements of Executive Order 13132


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                                          and the impact of the rule. Therefore, in                 (c) Any task or duty assigned to any                family, and the officers and employees
                                          accordance with Executive Order 13132,                  officer or employee of the Department of              of the institution designated in
                                          it is determined that this final rule does              Justice by this part may be delegated by              § 26.3(a)(2). Upon approval of the
                                          not have sufficient federalism                          the Attorney General to any other officer             Director of the Federal Bureau of
                                          implications to warrant the preparation                 or employee of the Department of                      Prisons or his designee, the prisoner
                                          of a federalism assessment.                             Justice.                                              may be granted access to such other
                                                                                                                                                        persons as the prisoner may request.
                                          E. Executive Order 12988—Civil Justice                  § 26.2   [Removed and Reserved]
                                                                                                                                                          (c) In addition to the Marshal, the
                                          Reform                                                  ■ 3. Remove and reserve § 26.2.                       following persons shall be present at the
                                            This final rule meets the applicable                  ■ 4. Amend § 26.3 by revising the                     execution:
                                          standards set forth in sections 3(a) and                section heading and paragraphs (a)(2),                  (1) Necessary personnel selected by
                                          3(b)(2) of Executive Order 12988.                       (3), and (4) to read as follows:                      the Marshal and the Director of the
                                          F. Unfunded Mandates Reform Act of                                                                            Federal Bureau of Prisons or his
                                                                                                  § 26.3 Date, time, place, and manner of               designee;
                                          1995                                                    execution.
                                                                                                                                                          (2) Those attorneys of the Department
                                             This final rule will not result in the                  (a) * * *                                          of Justice whom the Deputy Attorney
                                          expenditure by State, local, and Tribal                    (2) At a penal or correctional                     General determines are necessary;
                                          governments, in the aggregate, or by the                institution designated by the Director of               (3) Not more than the following
                                          private sector, of $100 million or more                 the Federal Bureau of Prisons;                        numbers of persons selected by the
                                          in any one year (adjusted for inflation),                  (3) Under the supervision of a United
                                                                                                                                                        prisoner:
                                          and it will not significantly or uniquely               States Marshal (Marshal) designated by
                                                                                                                                                          (i) One spiritual adviser;
                                          affect small governments. Therefore, no                 the Director of the United States                       (ii) Two defense attorneys; and
                                          actions were deemed necessary under                     Marshals Service, assisted by additional                (iii) Three adult friends or relatives;
                                          the provisions of the Unfunded                          qualified personnel selected by the                   and
                                          Mandates Reform Act of 1995.                            Director of the United States Marshals                  (4) Not more than the following
                                                                                                  Service and the Director of the Federal               numbers of persons selected by the
                                          G. Congressional Review Act                             Bureau of Prisons, or their designees,                Director of the Federal Bureau of
                                            This final rule is not a major rule as                and acting at the direction of the                    Prisons or his designee:
                                          defined by the Congressional Review                     Marshal; and                                            (i) Eight citizens; and
                                          Act, 5 U.S.C. 804. This rule will not                      (4) By intravenous injection of a lethal
                                                                                                                                                          (ii) Ten representatives of the press.
                                          result in an annual effect on the                       substance or substances in a quantity
                                                                                                  sufficient to cause death, such substance             *      *    *     *     *
                                          economy of $100 million or more; a
                                                                                                  or substances to be determined by the                   (e) The Director of the Federal Bureau
                                          major increase in costs or prices; or
                                                                                                  Director of the Federal Bureau of                     of Prisons or his designee should notify
                                          significant adverse effects on
                                                                                                  Prisons, or by any other manner                       those individuals described in
                                          competition, employment, investment,
                                                                                                  prescribed by the law of the State in                 paragraph (c) of this section as soon as
                                          productivity, or innovation, or on the
                                                                                                  which the sentence was imposed or                     practicable before the designated time of
                                          ability of United States-based
                                                                                                  which has been designated by a court in               execution.
                                          enterprises to compete with foreign-
                                          based enterprises in domestic and                       accordance with 18 U.S.C. 3596(a).                    *      *    *     *     *
                                          export markets.                                         *      *     *     *     *                              (g) After the execution has been
                                                                                                  ■ 5. Amend § 26.4 by revising the
                                                                                                                                                        carried out, qualified personnel selected
                                          List of Subjects in 28 CFR Part 26                                                                            by the Director of the Federal Bureau of
                                                                                                  introductory text, paragraphs (a), (b), (c),
                                            Law enforcement officers, Prisoners.                  (e), and (g) to read as follows:                      Prisons or his designee shall conduct an
                                            Accordingly, for the reasons stated in                                                                      examination of the body of the prisoner
                                          the preamble, part 26 of chapter I of title             § 26.4   Other execution procedures.                  to determine that death has occurred
                                          28 of the Code of Federal Regulations is                  Except to the extent a court orders                 and shall inform the Marshal and the
                                          amended as follows:                                     otherwise:                                            Director of the Federal Bureau of
                                                                                                    (a) The Director of the Federal Bureau              Prisons or his designee of his
                                          PART 26—DEATH SENTENCES                                 of Prisons or his designee shall notify               determination. Upon notification of the
                                          PROCEDURES                                              the prisoner under sentence of death of               prisoner’s death, the Marshal shall
                                                                                                  the manner of execution and the date                  ensure that appropriate notice of the
                                          ■ 1. The authority citation for part 26 is              designated for execution at least 20 days             sentence’s implementation is filed with
                                          revised to read as follows:                             in advance, except when the date                      the sentencing court.
                                            Authority: 5 U.S.C. 301; 18 U.S.C. 4001(b),           follows a postponement of fewer than                  *      *    *     *     *
                                          4002, 3596, 3597; 28 U.S.C. 509, 510, 2261,             20 days of a previously scheduled and                 ■ 6. Amend § 26.5 by revising the first
                                          2265.                                                   noticed execution, in which case the                  sentence to read as follows:
                                          ■ 2. Amend § 26.1 by:                                   Director of the Federal Bureau of
                                          ■ a. Designating the existing language as               Prisons or his designee shall notify the              § 26.5 Attendance at or participation in
                                          paragraph (a); and                                      prisoner as soon as possible. If                      executions by Department of Justice
                                                                                                  applicable law provides that the                      personnel.
                                          ■ b. Adding new paragraphs (b) and (c)
                                          to read as follows:                                     prisoner may choose among multiple                      No officer or employee of the
                                                                                                  manners of execution, the Director or                 Department of Justice or a State
                                          § 26.1   Applicability.                                 his designee shall notify the prisoner of             department of corrections, or any
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                                          *     *    *     *    *                                 that option.                                          employee providing services to those
                                            (b) Where applicable law conflicts                      (b) Beginning seven days before the                 departments under contract, shall be
                                          with any provision of this part, the                    designated date of execution, the                     required, as a condition of that
                                          Attorney General may vary from that                     prisoner shall have access only to his                employment or contractual obligation,
                                          provision to the extent necessary to                    spiritual advisers (not to exceed two),               to be in attendance at or to participate
                                          comply with the applicable law.                         his defense attorneys, members of his                 in any execution if such attendance or


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                                          participation is contrary to the moral or               reasons set forth below, the Board                    information gathered during a security
                                          religious convictions of the officer or                 includes within 29 CFR 102.119                        investigation may unreasonably weaken
                                          employee, or, if the employee is a                      additional paragraphs (q) and (r),                    the interests of protecting properly
                                          medical professional, if the employee                   exempting portions of the amended                     classified information and the
                                          considers such participation or                         system of records (NLRB–34) from                      objectivity of certain examination
                                          attendance contrary to medical ethics.                  subsections (c)(3), (d), (e)(1), (e)(4)(G),           materials.
                                          * * *                                                   (e)(4)(H), (e)(4)(I), and (f) of the Privacy
                                                                                                  Act.                                                     This rule relates to individuals rather
                                            Dated: November 18, 2020.                                                                                   than small business entities.
                                                                                                     Subsection (k)(1) of the Privacy Act
                                          William P. Barr,                                                                                              Accordingly, pursuant to the
                                                                                                  authorizes the head of an agency to
                                          Attorney General.                                       exempt a system of records from                       requirements of the Regulatory
                                          [FR Doc. 2020–25867 Filed 11–25–20; 8:45 am]            subsections (c)(3), (d), (e)(1), (e)(4)(G),           Flexibility Act, 5 U.S.C. 601–612, this
                                          BILLING CODE 4410–19–P                                  (e)(4)(H), (e)(4)(I), and (f) of the Privacy          rule will not have a significant impact
                                                                                                  Act (5 U.S.C. 552a(c)(3), (d), (e)(1),                on a substantial number of small
                                                                                                  (e)(4)(G), (e)(4)(H), (e)(4)(I), (f))                 business entities.
                                          NATIONAL LABOR RELATIONS                                (hereinafter, ‘‘the applicable                           In accordance with the Paperwork
                                          BOARD                                                   subsections’’) if records are properly                Reduction Act of 1995 (44 U.S.C. 3501
                                                                                                  classified pursuant to an Executive                   et seq.), the Agency has determined that
                                          29 CFR Part 102                                         order, within the meaning of section
                                                                                                                                                        this rule would not impose new
                                                                                                  552(b)(1) of the Freedom of Information
                                          Rule Exempting an Amended System                                                                              recordkeeping, application, reporting, or
                                                                                                  Act.
                                          of Records From Certain Provisions of                      Subsections (k)(2) and (5) of the                  other types of information collection
                                          the Privacy Act                                         Privacy Act, in combination, authorize                requirements on the public.
                                          AGENCY: National Labor Relations                        the head of an agency to exempt a                        The rule will not have a substantial
                                          Board.                                                  system of records from the applicable                 direct effect on the States, on the
                                          ACTION: Direct final rule.                              subsections if records are created or                 relationship between the National
                                                                                                  maintained for the purpose of law                     Government and the States, or on the
                                          SUMMARY: The National Labor Relations                   enforcement (other than material within               distribution of power and
                                          Board (NLRB) exempts a new system of                    the scope of subsection (j)(2) of the                 responsibilities among levels of
                                          records, NLRB iTrak and Banned Entry                    Privacy Act), as well as determining                  government. Therefore, it is determined
                                          List, from certain provisions of the                    suitability, eligibility, or qualifications           that this rule does not have federalism
                                          Privacy Act of 1974, pursuant to                        for Federal civilian employment,
                                                                                                                                                        implications under Executive Order
                                          sections (k)(1), (2), and (5) of that Act.              military service, Federal contracts, or
                                                                                                                                                        13132.
                                          DATES: This rule is effective January 26,               access to classified information, but
                                          2021 without further action, unless                     only to the extent that the disclosure of                In accordance with Executive Order
                                          adverse comment is received by                          such material would reveal the identity               12866, it has been determined that this
                                          December 28, 2020. If adverse comment                   of a source who furnished information                 rule is not a ‘‘significant regulatory
                                          is received, the NLRB will publish a                    to the Government under an express                    action,’’ and therefore does not require
                                          timely withdrawal of the rule in the                    promise that the identity of the source               a Regulatory Impact Analysis.
                                          Federal Register.                                       would be held in confidence, or, prior
                                                                                                  to September 27, 1975, under an                       List of Subjects in 29 CFR Part 102
                                          ADDRESSES: All persons who desire to
                                          submit written comments for                             implied promise that the identity of the                Privacy, Reporting and recordkeeping
                                          consideration by the Agency regarding                   source would be held in confidence. As                requirements.
                                          the rule shall mail them to the Agency’s                indicated in the Agency’s accompanying
                                                                                                  Privacy Act system of records notice                    For the reasons stated in the
                                          Senior Agency Official for Privacy,
                                          National Labor Relations Board, 1015                    issuing NLRB–34, this system contains                 preamble, the NLRB amends 29 CFR
                                          Half Street SE, Third Floor, Washington,                information compiled by the Agency in                 part 102 as follows:
                                                                                                  the course of carrying out its security
                                          DC 20570–0001, or submit them
                                                                                                  responsibilities.                                     PART 102—RULES AND
                                          electronically to privacy@nlrb.gov.
                                                                                                     The requirements of the applicable                 REGULATIONS, SERIES 8
                                          Comments may also be submitted                          subsections, if applied to the system of
                                          electronically through http://                          records NLRB–34, would substantially
                                          www.regulations.gov, which contains a                                                                         ■ 1. The authority citation for part 102
                                                                                                  compromise the ability of the Agency’s                is revised to read as follows:
                                          copy of this rule and any submitted                     Security Branch staff to effectively
                                          comments.                                               conduct investigations concerning the                   Authority: 29 U.S.C. 151, 156. Section
                                          FOR FURTHER INFORMATION CONTACT:                        suitability, eligibility, and fitness for             102.117 also issued under 5 U.S.C.
                                          Prem Aburvasamy, Senior Agency                          service of applicants for Federal                     552(a)(4)(A), and § 102.119 also issued under
                                          Official for Privacy, National Labor                    employment and contract positions at                  5 U.S.C. 552a(j) and (k). Sections 102.143
                                          Relations Board, 1015 Half Street SE,                   the Agency, in addition to determining                through 102.155 also issued under 5 U.S.C.
                                          Third Floor, Washington, DC 20570–                      the appropriate level of access to the                504(c)(1).
                                          0001, (202) 273–3733, privacy@nlrb.gov.                 Agency’s facilities. For instance, the
                                                                                                                                                        Subpart K—Records and Information
                                          SUPPLEMENTARY INFORMATION: Elsewhere                    disclosure requirements as set forth in
                                          in this issue of the Federal Register, the              the provisions for notice, access,
                                                                                                                                                        ■ 2. Section 102.119 is amended by
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                                          Agency has announced a new system of                    amendment, review, and accountings
                                          records, NLRB–34, NLRB iTrak and                        could enable subject individuals to take              revising the section heading and adding
                                          Banned Entry List, pursuant to the                      action to jeopardize the physical safety              paragraphs (q) and (r) to read as follows:
                                          Privacy Act of 1974, 5 U.S.C. 552a.                     or anonymity of confidential sources
                                             Pursuant to subsections (k)(1), (2), and             used during investigatory proceedings.
                                          (5) of the Privacy Act, and for the                     Additionally, the disclosure of


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